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                EXHIBIT 15
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(12)      United States Patent                                                                              (10) Patent N0.:                   US 7,187,823 B2
          Dimsdale et al.                                                                                   (45) Date of Patent:                            Mar. 6, 2007

(54)       CONTACT-FREE SLIP RING FOR SURVEY                                                                    6,604,068 B1       8/2003 Bukowski et a1. .......... .. 703/22
           INSTRUMENTATION                                                                                      6,630,993 B1      10/2003 Hedges et al.              356/141.4
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                               Joseph N‘ West’ Petaluma’ CA (Us)                                                6,898,346 B2 *     5/2005 Mercey et a1. .............. .. 385/26

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( >x< )    Notice:             Subject to any disclaimer’ the term Of this                               Integrated in a Compact Rotatable Power Transformer,” The Euro
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(22)       Flled:              Mar- 161 2005                                                             G. Roberts, A Contactless Transfer Device for Power and Data,
                                                                                                         Proceedings lEEEiAerospaceApplications Conference (1996), pp.
(65)                             Prior Publication Data                                                  333-345,
           US 2005/0279914 A1                          Dec. 22, 2005                                     * Cited by examiner

                         Related US. Application Data                                                    Primary ExamineriFrank G. Font
                 _   _                 _       _                                                         Assistant ExamineriMary El-Shammaa
(60) lfgoggboé‘nal apphcanon NO‘ 60/553’860’ ?led on Mar‘                                                (74) Attorney, Agent, or FirmiStallman & Pollock LLP

(51) Int Cl                                                                                              (57)                       ABSTRACT
           G02B 6/26                   (200601)                                                          A contact free rotary transformer assembly can be used to
           G02B 6/42                   (200601)                                                          transfer power and information between a stationary portion
(52)       US. Cl. ....................... .. 385/26; 385/134; 385/139                                   and a rotatable POI/[ion Ofa laser Scanning device_ The rotary
(58)       Field of Classi?cation Search ................. .. 385/26                                     transformer can consist of a pair of substantially parallel
           See application ?le fOr Complete Search hiSIOI'Y-                                             ferrite rings, each having disposed therein a coil for passing
(56)                             References Cited                                                        AC current. The assembly can use an optical ?ber positioned
                                                                                                         near a rotational axis of the transformer to transfer optical
                         U.S. PATENT DOCUMENTS                                                           information between the stationary and rotary portions. The
                                                                                                         optical ?ber can include two portions connected by a rota
          5,691,687 A             11/1997 Kumagai et al. ......... .. 336/120
                                                                                                         tional connection in order to allow the portions to rotate with
          5,988,862       A       11/1999          Kacyra et al.       ......   . . . . . . ..   703/6

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                                                                                                         respect to one another while maintaining the light path.
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                                                                               100
                                                                       \r_/
          \ \ \ \                                                                    102




                                          \ \ \         Transceiver

                                                                 110
  Object to be scanned                                                  C/l
         M                                               Camera(s)
                                                , /              112     114
                                            ,
                                  / I I

                           I I’
                    ./ I
              l /
         2I




                 Control & Processing
                            Station

                      User Interface
                                      116

                           Database
                                      118
                                       108


                                       - Prior Art -

                                            FIG. 1
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 |       293           —             202           —          Expander   —       208        -i-——)
 l                                   —                          ESE              -—         |

 I                                                                                          l
 |      Optical                                                                     -       '
 I    Transceiver                        Circuit _            Detector        TRlegelgere   l
 I       200                         m                          214.     _‘    8 5° P       |
 I       _                                                                      11-2        |

                                     T                                                            To
                  S        _          t I      d                              Cameras)          Scanner!
                      cannln       con r0 an           ower                                        '
                               9     220           P                            m                Qb|ecIa



               Interface and Power Electronics
                                     222.



                                                       - PriorArT

                                                        FIG. 2
   Case
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   L_______.____._.1
                             FIG. 3(a)



                                               5.62     : |—FTar;e_2_——-__‘
                           Laser
                            306       Combiner          I 1
                         Receiver /      310
                                       #5:              l    L   ._   _   _   __   _   _   _


                                       "amera    "    -.|.. ..
                                                        l
                                                       J

                         "563(6)"

                                                 F565                                      in"
                                                            Laser
                                                             306          \ Combmer
                                                       Receiver                    310         ‘

                                                            308                Camera
                                                                                 312


                              FIG. 3(c)
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                                        .                                                        400
                         Transceiver                                         410


  P owe El e                                          414                    41 8                      402
          r         c t ronics
                           '
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                                                                                               V406
    r)                                  ._i_u_u                                         Ll_LLLk_/-\ 408
  412

  Power Electronics                                                         416
               g                                                                    v      Interface
                                                                                             £2.


                                                                FIG. 4


                          Transceiver                                                            500
                                 512.             '                                      H
                                                                            502
                                                                                              504
               Power Electronics                                            / /\/
                                                                             w
                                                                %
                                        2W
                           Power Electronics                            \                  Interface



                                                                FIG. 5
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                                                        FIG. 6(a)
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                                  FIG. 7(a)
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     CONTACT-FREE SLIP RING FOR SURVEY                                   station 108 can utiliZe softWare to analyZe groups of points
             INSTRUMENTATION                                             in the point cloud 106 to generate a model of the object of
                                                                         interest 104. A user interface 116 alloWs a user to interact
                   CLAIM OF PRIORITY                                     With the system, such as to vieW a tWo-dimensional (2D)
                                                                         representation of the three-dimensional (3D) point cloud, or
  This application claims priority to US. Provisional Patent             to select a portion of that object to be vieWed in higher detail
Application No. 60/553,860, entitled “LASER SCANNING                     as discussed elseWhere herein. The processing station can
SYSTEM,” ?led Mar. 16, 2004, Which is hereby incorpo                     include any appropriate components, such as standard com
rated herein by reference.                                               puter and/or processing components. The processing station
                                                                         also can have computer code in resident memory, on a local
       TECHNICAL FIELD OF THE INVENTION                                  hard drive, or in a removable drive or other memory device,
                                                                         Which can be programmed to the processing station or
   The present invention relates to surveying devices and                obtained from a computer program product such as a CD
apparatus, such as laser scanning survey devices.                        ROM or doWnload signal. The computer code can include
                                                                         instructions for interacting With the FDV and/or a user, and
                       BACKGROUND                                        can include instructions for undertaking and completing any
                                                                         modeling and/or scanning process discussed, described, or
  The acquisition of data and subsequent generation of                   suggested herein.
computer models for real-World objects is of interest in                   The FDV 102 can include an optical transceiver 110
many industries, for applications including architecture,           20   capable of scanning points of the object 104, and that
physical plant design, entertainment applications (e.g., in              generates a data signal that precisely represents the position
movies and games), surveying, manufacturing quality con                  in 3D space of each scanned point. The data signal for the
trol, medical imaging, and construction, as Well as cartog               groups of scanned points can collectively constitute the
raphy and geography applications. In order to obtain accu                point cloud 106. In addition, a video system 112 can be
rate models of an object, as Well as the area in Which that 25 provided, Which in one embodiment includes both Wide
object exists in the real World, it is necessary to take accurate        angle and narroW angle CCD cameras. The Wide angle CCD
measurements or samplings of surfaces that make up the                   camera can acquire a video image of the object 104 and
object and any elements of the surrounding area. Histori                 provides to the control and processing station 108, through
cally, this sampling Was carried out by surveyors, photo                 a control/interface module 114, a signal that represents the
grammetrists, or technicians using techniques that provided         30   acquired video image.
samples at the rate of tens or hundreds per hour at most.                  The acquired video image can be displayed to a user
Since the amount of data Was relatively small, the data Was              through a user interface 116 of the control and processing
easily dealt With in standard, olf-the-shelf CAD programs or             station 108. Through the user interface 116, the user can
other modeling software.                                                 select a portion of the image containing an object to be
  Recent advances in scanning technology, such as tech              35   scanned. In response to user input, the control and process
nologies utiliZing LIDAR scanning, have resulted in the                  ing station can provide a scanning control signal to the
ability to collect billions of point samples on physical                 transceiver 110 for controlling the portion of the surface of
surfaces, over large areas, in a matter of hours. In a LIDAR             the object that should be scanned by the transceiver. More
process, a laser beam scans across a vieW that encompasses               particularly, the scanning control signal can be used to
the structure of interest. The scanning device measures a           40   control an accurate and repeatable beam steering mechanism
large number of points that lie on surfaces visible in the               that steers a beam or pulse of the transceiver 110. The
scene. Each scan point has a measured location in 3D space,              narroW angle CCD camera of the video system 112 can
to Within some measurement error, that typically is recorded             capture the intensity returned from each scan impingement
relative to a point (x,y,Z) in the local coordinate system of            point, along With any desired texture and color information,
the scanner. The resulting collection of points is often            45   and can provide this captured information to the control and
referred to as one or more point clouds, Where each point                processing station 108. The control and processing station
cloud can include points that lie on many different surfaces             can include a data processing system (e.g., a notebook
in the scanned vieW. LIDAR systems are described, for                    computer or a graphics Workstation) having special purpose
example, in US. Pat. No. 5,988,862, ?led Apr. 24, 1996,                  softWare that, When executed, instructs the data processing
entitled “INTEGRATED SYSTEM FOR QUICKLY AND                         50   system to perform the FDV 102 control and targeting
ACCURATELY IMAGING AND MODELING THREE                                    functions, and also to perform the model generation func
DIMENSIONAL OBJECTS,” Which is hereby incorporated                       tions discussed elseWhere herein. Once the object has been
herein by reference.                                                     scanned and the data transferred to the control and process
  An exemplary surveying system 100 shoWn in FIG. 1                      ing station, the data and/or instructions relating to the data
utiliZes a Field Digital Vision (FDV) module 102 that               55   can be displayed to the user.
includes a scanning device for scanning an object 104, such                 FIG. 2 shoWs a block diagram of an optical transceiver
as a building of a piece of machinery. The scanning device               200 of the FDV of the prior art. The optical transceiver 200
also can sense the position in three-dimensional space of                transmits an optical pulse to a spot on an object (or structure)
selected points on the surface of the object 104. The FDV                being scanned, and receives back an optical pulse re?ected
module 102 generates a point cloud 106 that represents the          60   from the object. Given the constant speed of light, the optical
detected positions of the selected points. The point cloud               transceiver calibrates the distance to the spot on the target.
106 also can represent other attributes of the detected                  A laser 202 in this example is used to generate an optical
positions, such as re?ectivity, surface color, and texture,              pulse, Which typically lasts less than 250 psec, in response
Where desired.                                                           to a command provided from a laser controller 204. The
  A control and processing station 108 interacts With the           65   laser 202 produces the pulse, at a Wavelength such as about
FDV 102 to provide control and targeting functions for the               532 nm, Within about 10(L300 microseconds after receiving
scanning sensor. In addition, the processing and control                 a command signal. The command signal emanates from a
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digital signal processor that provides central control of real           this problem through use of electromechanical slip rings.
time events. The time delay is a function of variables such              Electro-mechanical slip rings consist of one or more rings
as laser age, recent laser history, and environmental/operat             and a number of brushes, both the ring(s) and brushes being
ing conditions. PoWer and control signals can be provided to             made of conductive material. The rings or brushes are
the transceiver from a set of scanning control and poWer                 connected to the stationary unit, With the other part being
components 220. Another set of components 222 can be                     connected to a rotary portion. An electrical current is applied
used that includes additional poWer electronics, as Well as              from the stationary side, such that current passes through the
interface components for interfacing With a user, other                  mechanical contact betWeen the ring and brushes. This
internal or external devices, and/or processing equipment.               mechanical contact can be undesirable, as a small dust
  The output of the laser 202 is transmitted through a beam              particle or mechanical imperfection can lead to occasional
expander 206 that is focused to adjust the siZe of a light spot          breaks in the mechanical contact and thus a break in current
that Will eventually impinge upon a point on the object being            ?oW. Breaks in current can lead to increased levels of noise
scanned. The focused optical pulse then is transmitted                   in the system. Another problem is that these mechanical
through a duplexer 208, Which is an optical system for                   connections have the potential for sparking, Which can be a
aligning the outgoing optical path With the incoming optical             severe detriment in explosive environments. These mechani
path. The duplexer 208 directs a signi?cant ?rst portion of              cal connections also experience frictional e?ects, Which can
the light energy of the outgoing optical pulse to a spot on the          a?fect the angular precision of the rotation.
object via a scanner. A second but much smaller portion of
the light energy of the outgoing optical pulse is directed to                  BRIEF DESCRIPTION OF THE DRAWINGS
a receiver telescope 212. The portion of the outgoing optical       20
pulse that propagates to the object impinges on a spot on the               FIG. 1 is a diagram of a scanning survey system that can
object, and some of the energy of the optical pulse is                   be used in accordance With one embodiment of the present
re?ected o? the object in a direction back to the duplexer               invention.
208. The scanner (not shoWn) typically includes a beam                      FIG. 2 is a diagram shoWing components that can be used
steering unit, or beam de?ection unit, that utiliZes one or         25   With the survey system of FIG. 1.
more mirrors or other optical elements for directing the                   FIGS. 3(a)i(c) shoW arrangements of the components of
output pulse. In order to direct the output pulse to scan in             FIG. 2 that can be used in accordance With embodiments of
tWo dimensions, a pair of mirrors can be used to direct the              the present invention.
pulse along tWo linear axes. This can include a ?rst mirror                 FIG. 4 is a diagram of a ?rst contact free slip ring
device and a second mirror device, each capable of rotating         30   assembly that can be used With the system of FIG. 1.
relative to a rotational axis. In one example, a ?rst mirror                FIG. 5 is a diagram of a second contact free slip ring
rotates parallel to a rotational axis of the beam steering unit.         assembly that can be used With the system of FIG. 1.
A drive motor functions to rotate the second mirror about a                 FIGS. 6(a)i(e) shoW vieWs of a component of the slip ring
second rotational axis, Which typically is orthogonal to the             of FIG. 4.
rotational axis of the beam steering unit. The rotation along       35     FIGS. 7(a)i(f) shoW optical ?ber components that can be
the tWo axes alloWs for direction of the beam along a                    used With the system of FIG. 1.
tWo-dimensional path, such as a raster pattern. Light
re?ected from the object can be received by the scanner and                              DETAILED DESCRIPTION
directed by the ?rst and second mirror devices to the optical
transceiver 200.                                                    40     Systems and methods in accordance With embodiments of
  The returning optical pulse is directed by the duplexer 208            the present invention can overcome de?ciencies in existing
to the receiver telescope 212, Which focuses the received                scanning systems by changing the Way in Which poWer and
energy onto a detector 214. The detector 214 converts the                information are transmitted betWeen rotary and stationary
received optical pulse energy into electrical energy. The                portions of a system. In at least one embodiment, poWer and
output of the detector is a series of electrical pulses, the ?rst   45   information can be transmitted through a contact-free rotary
(generated by the detector in response to the small portion of           joint Without any cables or sliding contacts. This rotary joint
the transmitted pulse not directed toWard the object) occur              can consist of a combination of electricallyiand optically
ring at a short ?xed time (i.e., ?xed by the length of the               coupled transmission paths. A rotary transformer is used for
optical path through the beam expander, duplexer, and                    poWer transmission, avoiding problems With the typical slip
receiver telescope) and the second occurring as light energy        50   ring approach in existing systems. The basic principals of
returns from the object. Both the second, small portion of the           rotary transformers are knoWn in the art and Will not be
transmitted pulse and the return optical pulse re?ected from             discussed in detail herein, as rotary transformers commonly
the spot on the object are provided to the timing circuit 216,           are applied in systems such as videocassette recorders for
Which calculates the time of ?ight to the spot on the object.            the purpose of transmitting data and poWer. The information
The range to the spot on the object can then be readily             55   channels that typically take the form of cabling can be
calculated from the calculated time of ?ight.                            replaced With at least one light path using an optical data
   In order to alloW for rotation of the beam de?ection unit(s)          link. The basic principals of optical data links are knoWn in
in the scanner of this example, it is necessary to have a rotary         the art and Will not be discussed herein, as such data links
connection alloWing at least a portion of each beam de?ec                are used in applications such as satellite gyroscopic systems.
tion unit, such as the ?rst and/or second mirror devices, to        60   Typical o?f-the-shelf optical links have integral bearings,
rotate relative to the rest of the FDV. Surveying instrumen              hoWever, Which can be undesirable for many survey instru
tation can have any of a number of points that require precise           ments.
rotary components to deliver high angular precision, such as               The use of rotary joint assemblies as described herein can
for de?ecting light beams and/ or adjusting vieWing optics. If           not only alloW for the transmission of poWer and/or infor
the rotary portions are instrumented, for example, both             65   mation betWeen portions of a scanning device, but also can
information and poWer may need to ?oW through this rotary                alloW for components to be moved to various regions of the
connection. Existing survey instrumentation typically solves             device. For instance, a relatively traditional scanner con
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?guration is shown in FIG. 3(a). This con?guration includes            frames, such as a laser being positioned in Frame 2 and a
What Will be referred to herein as three frames of reference.          receiver positioned in Frame 1. Rotary joint assemblies can
One frame of reference (Frame 0 300) can be a stationary               be used anyWhere in these arrangements Where a rotary joint
frame that does not rotate relative to an object being                 is needed, and it is desirable to have a precise rotation and/or
scanned. This can be, for example, a frame of reference that           to pass poWer and/or information.
includes a rigid stand holding the scanning instrument in                FIG. 4 shoWs an exemplary rotary joint assembly 400 that
place. In typical scanners, the laser 306, receiver 308,               can be used in accordance With the arrangements of FIG. 3
combiner 310, and camera(s) 312 are positioned in the                  and other embodiments of the present invention. This assem
stationary frame 300. The camera 312 can capture light that            bly 400 utiliZes a pair of magnetically coupled Wire coils
passes through the combiner 310, or can be a Wide angle                406, 408 forming a rotary transformer that is substantially
camera that captures re?ected light directly from the object           symmetric about a rotary axis 410. Line 412 is used to
being scanned.                                                         illustrate the separation betWeen stationary components and
  Output pulses from the laser, and pulses re?ected back to            rotary components in this example. The rotary transformer
the receiver, can pass through a scanner including a ?rst              includes a pair of identical ring-shaped cores 402, 404, for
rotational axis and a second rotational axis, in order to scan         housing the coils, capable of inductively coupling poWer
the object in tWo dimensions as discussed above. For each              therebetWeen. The cores can be formed of any appropriate
rotational axis, another frame of reference is created relative        material, such as ferrite. The ferrite cores each can include
to the object being scanned. For instance, the rotation about          a groove in the adjacent sides of the cores for housing coils
a ?rst axis creates Frame 1 302, Which can include compo  of Wire. By having the coils face each other in the ferrite
nents that rotate relative to Frame 0 300. Frame 1 can 20 cores, the coupling betWeen the tWo coils of Wire is
include a ?rst mirror device or beam de?ecting unit for   increased relative to a case Without the ferrite cores. Further,
de?ecting the optical pulses in a ?rst dimension. A second             the ferromagnetic cores cause the coils to be magnetically
rotation about a second axis creates Frame 2 304, Which can            isolated from external ?elds.
include other components that rotate relative to both Frame               PoWer can be applied to, for example, a coil mounted
0 and Frame 1. Frame 2 can include a second mirror device         25   inside the bottom ferrite ring core 404. The magnetic ?eld
or beam de?ecting unit for de?ecting the optical pulses in a           lines can pass largely through the loW reluctance path of the
second dimension, such as a dimension orthogonal to the                ferrite material into the matching ring core 402 through the
?rst dimension. This arrangement alloWs the majority of the            gap betWeen the cores. A voltage Will be induced in the coil
laser components to be stationary, While tWo stages of a               mounted in the top ferrite core 402, alloWing poWer to be
scanner or beam de?ecting device(s) can rotate to alloW           30   transferred betWeen the coils of the cores.
appropriate de?ection of the optical pulses. Because there                Such a rotary transformer can be used to couple AC
may be no need to transfer data and/or poWer to Frame 1 and            electrical poWer betWeen scanning components, such as by
Frame 2 in this arrangement, there may be no need to use               passing poWer betWeen a ?rst set of poWer electronics 424
rotary joint assemblies as described herein. It can be useful,         and a second set of poWer electronics 426, Wherein one set
hoWever, to use a rotary joint assembly betWeen Frame 0 and       35   of poWer electronics is capable of rotating relative to the
Frame 1, and/or betWeen Frame 1 and Frame 2, in order to               other set. The electrical poWer coupling can be provided by
alloW for a precise rotation of the respective frames. Further,        the inductive energy transfer capability of the rotary trans
there may be motor devices in at least one of those frames             former assembly 400. Unlike conventional slip rings, this
that require poWer transmission. In such case, rotary joint            rotary transformer assembly does not make mechanical
assemblies as described herein can be useful betWeen              40   contact betWeen the ring core elements, such that problems
frames.                                                                With intermittent contact and sparking can be avoided. The
  Another arrangement of survey instrument components is               coil in each ring core can have a predetermined number of
shoWn in FIG. 3(b). In this example, the laser 306, receiver           Wrapped Wires or a number of Wrappings of a single Wire.
308, combiner 310, and camera 312 can be placed in Frame               The number of Wires and/or Wrappings can depend upon the
1 302, Which is capable of rotation With respect to Frame 0       45   gauge of the Wire used. Each Wrapped Wire of a primary coil
300. In this case, poWer is transferred from the components            can have ?rst and second ends connected to a component
of the stationary frame, such as the set of interface and              such as a transceiver or recti?er.
poWer electronics discussed With respect to FIG. 2, to the                The transmitting poWer electronics 426 can include a
surveying components in rotatable Frame 1. Further, the data           source of AC poWer. The voltages that can be used With the
captured by the components in Frame 1 is transmitted back         50   rotary transformer can depend upon the characteristics of the
to the components in the stationary frame. In order to alloW           Wrapped Wire in the adjacent grooves of the ring cores.
for a precise rotation of Frame 1, it can be desirable to avoid        Electronics providing poWer on one side of the rotary joint
the use of cabling betWeen the Frame 1 and Frame 0                     can include a recti?er and at least one DC voltage regulator,
components, Which can provide a source of tension or stress            providing poWer and voltage to the various components on
that can affect the rotational accuracy. As such, it can be       55   the other side of the rotary transformer. The electronics can
desirable to use a rotary joint assembly as described herein           convert DC poWer at a speci?ed voltage and current to AC
to transmit poWer and/ or information betWeen Frame 0 and              poWer at a speci?ed voltage and current to be drive the
Frame 1. A rotary joint assembly also can be used betWeen              rotary transformer, and can alloW an AC current to be passed
Frame 1 and Frame 2, as described With respect to FIG. 3(a).           through the rotary transformer to poWer electronic, Which
  Yet another arrangement is shoWn in FIG. 3(c). In this          60   can convert the AC poWer into a DC poWer. The rotary
arrangement, the components are positioned in Frame 2 304,             connection can be constructed With integral shielding, to
Which can rotate relative to both Frame 0 300 and Frame 1              reduce susceptibility to interference from outside optical
302. As such, it can be desirable to use a rotary joint                and/or electromagnetic signals. As shoWn in FIGS. 6(a)*6
assembly as described herein to transmit poWer and/or                  (e), a ring core 404 can include a channel 600 that alloWs
information betWeen Frame 0 and Frame 1, as Well as               65   space for poWer cabling or Wiring 602 to connect the Wire
betWeen Frame 1 and Frame 2. Other arrangements are also               coil in the ring groove 408 to the appropriate components of
possible, Wherein various components are split over the                the system, such as a recti?er for converting betWeen DC
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and AC power. The channel is shown in detail in FIG. 6(e),               as are described in Us. Pat. No. 5,691,687, entitled “Con
With a depth relation relative to the groove shoWn in FIG.               tactless Magnetic Slip Ring,” Which is hereby incorporated
6(d). The channel typically Will be deeper than the groove to            herein by reference. The data path also can be multiplexed
alloW an end of the coil Wire to be passed underneath the                to carry scan signals in order to move portions of the
coil, or aWay from the adjacent coil, to connect one end of              transceiver to other sections of the scanning device.
the coil to the appropriate device.                                         Other radial symmetric arrangements of a rotary trans
   In order to alloW an optical signal to be passed betWeen              former can be used to provide similar coupling and isolation,
a data interface 422 of a stationary portion of the FDV and              such as the arrangement 500 shoWn in FIG. 5. As shoWn in
an optical transceiver 420 in a rotary frame, for example,               the ?gure, the substantially parallel ring cores can be
Which can be rotatable With respect to each other, an optical            replaced With concentric cylinders 502, 504 separated by a
link can be placed substantially on axis With the rotational             tubular gap 510. One of the Wire coils can be positioned in
axis 410 of the ring transformer assembly. The optical link              the groove 506, or simply on the outer surface, of a central
can use standard Wave-division multiplexed optical trans                 cylinder 502. A matching coil can be mounted in a groove
ceivers. lntervening optics can be used to focus the resulting           508, or simply on the inside, of a matching holloW cylinder
light beams. At least one transceiver can be a bi-directional            504, such as a ferrite tube. The central cylinder can be
optical transceiver that coverts betWeen digital signals and             mounted inside the tube, With a substantially common
light pulses. A Wave division multiplexed transceiver can be             central axis for the tWo cylinders, such that poWer can be
used, although a single light Wavelength can be used by                  transferred betWeen the inner cylinder 502 and the outer tube
separating the light paths. The input/output of this trans               504, thereby achieving the same result as for the arrange
ceiver can be coupled into a single optical ?ber 414, Which         20   ment of FIG. 4 to transfer poWer betWeen the poWer elec
enters the central opening 418 in the contact free slip ring             tronics 516, 518. An optical ?ber again can be used to
assembly. The ?ber can be a single, continuous ?ber, or can              transfer information betWeen an optical transceiver 512 and
consist of a ?rst ?ber portion 414 and a second ?ber portion             a data interface 514. Other embodiments can use other
416. The ?rst and second ?ber portions can connect through               arrangements, such as the use of standard pot-cores to house
a rotary connection, as Will be described With respect to FIG.      25   the poWer transformer coils and a simple LED emitter and
7, alloWing the portions of the ?ber to rotate With respect to           detector mounted in the center of the pot core to enable
one another While alloWing for a common light path. The                  one-Way transfer of data.
?ber can be coupled to a number of intervening optics (not                  It should be recogniZed that a number of variations of the
shoWn) in order to point the beam along the axis of rotation             above-identi?ed embodiments Will be obvious to one of
of the system, or other light path, as Well as to receive and       30   ordinary skill in the art in vieW of the foregoing description.
transmit light passed along the ?ber. The system can be set              Accordingly, the invention is not to be limited by those
up such that light propagates in one direction through the               speci?c embodiments and methods of the present invention
?ber at a ?rst Wavelength, and in the opposite direction at a            shoWn and described herein. Rather, the scope of the inven
second Wavelength, such that light traveling in opposing                 tion is to be de?ned by the folloWing claims and their
directions With not interfere. These Wavelengths can be, for        35   equivalents.
example, around 1300 nm and 1500 nm.
  FIG. 7 shoWs an example of a ?rst ?ber portion 700 and                   What is claimed is:
a second ?ber portion 706. As can be seen, each portion                    1. A system for transmitting poWer and an optical signal
contains a connector 702, 708 selected to connect to the                 betWeen components of a surveying instrument, comprising:
appropriate device, such as a transceiver. Each portion can         40     a ?rst ring core having a ?rst central axis and including a
be designed to contain an optical ?ber, such as an optical                    ?rst coil disposed in a ?rst surface of the ?rst ring core,
?ber in the range of l24*400 microns in diameter, and can                     the ?rst coil operable to be connected to a ?rst com
have an optically insulating coating as knoWn in the art.                     ponent in order to receive poWer from the ?rst com
Each portion can include a strain relief component at the                     ponent;
appropriate connection points. As shoWn, the ?rst portion           45     a second ring core positioned substantially parallel to the
702 can include an accepting connection member 704,                           ?rst ring core and having a second central axis aligned
Which can include a central opening along the light path to                   With the ?rst central axis, the second ring core includ
receive a portion of an optical ?ber. The second portion can                  ing a second coil disposed in a second surface adjacent
include a projecting connection member 710, shaped to be                      the ?rst surface and positioned a distance from the ?rst
received by the accepting connection member 704. The                50        coil such that poWer can be passed from the ?rst coil to
connection members can be connected to alloW rotation of                      the second coil, the second coil operable to be con
one of the ?ber portions at the connection point relative to                  nected to a second component in order to transmit
the other ?ber portion. The placement of the optical ?ber at                  current to the second component, the second ring core
the central axis of each connection member also alloWs for                   further being operable to rotate relative to the ?rst ring
a consistent light path, regardless of the rotation of the ?bers.   55       transformer about the second central axis; and
Such a connection alloWs for an unlimited range of rotation,               an optical data link positioned in a central opening in each
Without the need to Worry about tangling and/or excessive                    of the ?rst and second ring cores, the optical data link
bending of the ?ber. The connection members can be made                      operable to pass an optical signal betWeen third and
out of any appropriate material, and can be polished in order                 forth components of the surveying instrument, the third
to reduce the likelihood of frictional effects. The connection      60        and fourth components being rotatable With respect to
members also can be lubricated using a lubricant that is                      each other.
acceptable for optical applications.                                       2. A system according to claim 1, Wherein:
  Other means of transferring data or information betWeen                  the second and fourth component comprise the same
a rotary optical transceiver and a stationary data interface,                 component.
for example, include transmitting data via an inductive path        65     3. A system according to claim 1, Wherein:
through the rotary transformer. Methods for transmitting                   at least one of the ?rst and second ring cores is a ferrite
data through primary and secondary coils are knoWn, such                      core.
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  4. A system according to claim 1, wherein:                            aligned With the ?rst central axis, the second electro
  at least one of the ?rst and second ring cores includes a             magnetic cylinder including a second coil disposed
     groove in the respective one of the ?rst and second                about an inner cylindrical surface adjacent the outer
     surfaces for housing a respective portion of the ?rst and          cylindrical surface and positioned a distance from the
     second coils.                                                      ?rst coil such that poWer can be passed from the ?rst
  5. A system according to claim 1, Wherein:                            coil to the second coil, the second coil operable to be
  at least one of the ?rst and second ring core includes a              connected to a second component in order to transmit
     channel alloWing a respective one of the ?rst and                  poWer to the second component, the second electro
     second coils to connect to a respective one of the ?rst            magnetic cylinder being further operable to rotate rela
     and second components.                                             tive to the ?rst electromagnetic cylinder about the
  6. A system according to claim 1, Wherein:                            second central axis; and
  the optical data link is positioned substantially along the         an optical data link positioned in a central opening in each
     ?rst and second central axes.                                      of the ?rst and second electromagnetic cylinders, the
  7. A system according to claim 1, Wherein:                            optical data link operable to pass an optical signal
  the optical data link includes ?rst and second optical ?ber           betWeen third and forth components of the surveying
     portions, the ?rst and second optical ?ber portions                instrument, the third and fourth components being
     being rotatably connected in order to alloW for rotation           rotatable With respect to each other.
     of at least one of the ?rst and second ?ber portions             11. A system according to claim 10, Wherein:
     While maintaining a common optical path betWeen the              at least one of the ?rst and second electromagnetic
     ?rst and second optical ?ber portions.                      20     cylinders includes a groove in the respective one of the
  8. A system according to claim 1, Wherein:                            outer and inner cylindrical surfaces for housing a
  the optical data link includes ?rst and second optical ?ber            respective portion of the ?rst and second coils.
     portions in optical communication, the ?rst and second           12. A system according to claim 10, Wherein:
     optical ?ber portions having adjacent ends alloWing an           the optical data link is positioned substantially along the
     optical signal to pass along a common optical path          25     ?rst and second central axes.
     formed by the ?rst and second optical ?ber portions.             13. A system according to claim 10, Wherein:
  9. A system according to claim 1, Wherein:                          the optical data link includes ?rst and second optical ?ber
  at least one of the ?rst and second components is an                  portions, the ?rst and second optical ?ber portions
     optical transceiver.                                               being rotatably connected in order to alloW for rotation
  10. A system for transmitting poWer and an optical signal      30     of at least one of the ?rst and second ?ber portions
betWeen components of a surveying instrument, comprising:               While maintaining a common optical path betWeen the
  a ?rst electromagnetic cylinder having a ?rst central axis            ?rst and second optical ?ber portions.
     and including a ?rst coil disposed about an outer                14. A system according to claim 10, Wherein:
     cylindrical surface of the ?rst electromagnetic cylinder,        the optical data link includes ?rst and second optical ?ber
     the ?rst coil operable to be connected to a ?rst com        35     portions in optical communication, the ?rst and second
     ponent in order to receive poWer from the ?rst com                 optical ?ber portions having adjacent ends alloWing an
     ponent;                                                            optical signal to pass along a common optical path
  a second electromagnetic cylinder positioned substan                  formed by the ?rst and second optical ?ber portions.
    tially concentric to, and outside of, the ?rst electro
    magnetic cylinder and having a second central axis                                    *   *   *    *   *
